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                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,
                                             No. 3:23-CV-00073-JMK
                     Plaintiff,

              v.                             CONSENT DECREE

 ROBERT YUNDT HOMES, LLC, and
 ROBERT D. YUNDT II,

                     Defendants.


                                  CONSENT DECREE




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         WHEREAS, Plaintiff United States of America, on behalf of the United States

Environmental Protection Agency (“EPA”), filed the Complaint in this action on April 7,

2023, alleging that the Defendants Robert Yundt Homes, LLC (“Robert Yundt Homes”)

and Robert D. Yundt, II (“Mr. Yundt,” and collectively “Defendants”), violated and

remain in violation of Sections 301(a) and 309(d) of the Clean Water Act (“CWA”), 33

U.S.C. §§ 1311(a), 1319(d);

         WHEREAS, the Complaint alleges that Defendants violated CWA Section 301(a)

by discharging fill material into waters of the United States at two sites in Wasilla,

Alaska, the first in August 2020, and the second between April 2019 and December 2019,

without a permit from the United States Army Corps of Engineers;

         WHEREAS, the Complaint further alleges that Defendants violated CWA Section

301(a) at the first site, located at 1165 East Westpoint Drive in Wasilla, Alaska and

referred to therein as the Wasilla Lake Site, by using heavy earthmoving equipment to

relocate and discharge fill material, such as rip rap rock, gravel, and topsoil into wetlands

adjacent to Wasilla Lake and below the ordinary high water mark of Wasilla Lake;

         WHEREAS, the Complaint further alleges that Defendants violated CWA Section

301(a) at the second site, located at 5530 and 5560 East Cherry Circle in Wasilla, Alaska

and referred to therein as the Cottonwood Lake Sites, by using heavy earthmoving

equipment to relocate and discharge gravel, native organic soil, woody debris, slash, and

logs into wetlands adjacent to Cottonwood Lake;


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         WHEREAS, the Complaint further alleges that Robert Yundt Homes sought to

resolve its liability for these violations by entering into two Administrative Orders on

Consent with the EPA, effective November 2, 2021;

         WHEREAS, the Complaint further alleges that the first order concerning the

Wasilla Lake Site, referred to therein as the Wasilla Lake Order, required Robert Yundt

Homes to submit a Restoration Work Plan to EPA by December 17, 2021 to restore the

site, and, after obtaining EPA approval, finish implementing the Restoration Work Plan

by July 31, 2022;

         WHEREAS, the Complaint further alleges that the second order concerning the

Cottonwood Lake Sites, referred to therein as the Cottonwood Lake Order, required

Robert Yundt Homes to submit a Restoration Work Plan to EPA by December 17, 2021

to restore the site; after obtaining EPA approval, finish implementing the Restoration

Work Plan by July 31, 2022; and execute a restrictive environmental covenant to protect

natural conditions on Lot 24A at the Cottonwood Lake Sites;

         WHEREAS, the Complaint further alleges that Robert Yundt Homes never

completed the required restoration and mitigation work agreed to and ordered by the

Wasilla Lake Order and Cottonwood Lake Order;

         WHEREAS, the Complaint seeks injunctive relief against Defendants to comply

with the Wasilla Lake Order and Cottonwood Lake Order and complete the required

restoration work and mitigation work;


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         WHEREAS, the Complaint seeks the imposition of civil penalties against Robert

Yundt Homes for violating the Wasilla Lake Order and Cottonwood Lake Order,

         WHEREAS, the Complaint seeks the imposition of civil penalties against Mr.

Yundt for violating CWA Section 301(a);

         WHEREAS, the United States and Defendants (“Parties”) agree and recognize,

and the Court by entering this Consent Decree finds, that this Consent Decree has been

negotiated by the Parties in good faith and will avoid litigation between the Parties and

that this Consent Decree is fair, reasonable, and in the public interest;



         NOW, THEREFORE, before the taking of any testimony upon the pleadings,

without the adjudication of any issue of fact or law except as provided in Section I of this

Consent Decree, and with the consent of the Parties, IT IS HEREBY ADJUDGED,

ORDERED, AND DECREED as follows:




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                             I.    JURISDICTION AND VENUE

         1.      This Court has subject matter jurisdiction over the claims in the Complaint,

pursuant to 28 U.S.C. §§ 1331, 1345, and 1355, and Section 309(b) of the CWA, 33

U.S.C. § 1319(b), and personal jurisdiction over Defendants.

         2.      Venue lies in this judicial district pursuant to Section 309(b) of the CWA,

33 U.S.C. § 1319(b), and 28 U.S.C. §§ 1391(b)(1)–(2), 1395(a), because Defendants

reside and are located in this judicial district, a substantial part of the events or omissions

giving rise to the claims alleged in the Complaint occurred in this judicial district, and the

properties that are the subject of the action are located in this judicial district.

         3.      For purposes of this Consent Decree, or any action to enforce this Consent

Decree, Defendants consent to the Court’s jurisdiction over this Consent Decree and any

such action and over Defendants, and Defendants consent to venue in this judicial

district.

         4.      For purposes of this Consent Decree, Defendants agree that the Complaint

states claims upon which relief may be granted pursuant to Section(s) 301, 309, and 404

of the CWA, 33 U.S.C. §§ 1311, 1319, and 1344.

                                   II.    APPLICABILITY

         5.      The obligations of this Consent Decree apply to and are binding upon

Defendants and any successors, assigns, or other persons otherwise bound by law

whether or not any such person has notice of this Consent Decree.


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         6.   The Parties agree Defendants’ obligations under this Consent Decree are

joint and several.

         7.   No transfer of ownership or other interest in the Sites, whether in

compliance with the procedures of this Paragraph or otherwise, shall relieve Defendants

of their obligation to ensure that the terms of the Consent Decree are implemented.

         8.   As a condition of any transfer of ownership or other interest in the Sites,

Defendants shall reserve all rights necessary to comply with this Consent Decree. No

transfer of ownership or other interest in the Sites, whether in compliance with the

procedures of this Paragraph or otherwise, shall relieve Defendants of their obligations to

ensure that the terms of the Consent Decree are implemented, unless: (1) the transferee

agrees to undertake the obligations required by this Consent Decree and to be substituted

for Defendants as a party under the Consent Decree and thus be bound by the terms

thereof; and (2) the United States consents to relieve Defendants of their obligations. The

United States’ decision to refuse to approve the substitution of the transferee for

Defendants shall not be subject to judicial review. At least 30 Days prior to such transfer,

Defendants shall provide a copy of this Consent Decree to the proposed transferee and

shall simultaneously provide written notice of the prospective transfer, together with a

copy of the proposed written agreement, to the United States in accordance with Section

XIV (Notices). Any attempt to transfer ownership or other interest operation of the Sites

without complying with this Paragraph constitutes a violation of this Consent Decree.


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         9.    Defendants shall provide a copy of this Consent Decree to all officers,

employees, and agents whose duties might reasonably include compliance with any

provision of this Consent Decree, including, for example, any contractor or consultant

retained to perform work required under this Consent Decree. Defendants shall condition

any such contract upon performance that conforms to the terms of this Consent Decree.

The United States shall not be considered a party to any such contract.

         10.   In any action to enforce this Consent Decree against Defendants,

Defendants shall not raise as a defense the failure by any of its officers, directors,

employees, agents, successors, assigns, contractors, consultants, or any person acting in

concert or participation with Defendants, to take any actions necessary to comply with

the provisions of this Consent Decree.

         11.   It is the express purpose of the Parties in entering this Consent Decree to

further the objective set forth in CWA section 101(a), 33 U.S.C. § 1251(a).

                                   III.   DEFINITIONS

         12.   Terms used in this Consent Decree that are defined in the CWA or in

regulations promulgated pursuant to the CWA shall have the meanings assigned to them

in the CWA or such regulations, unless otherwise provided in this Consent Decree.

Whenever the terms set forth below are used in this Consent Decree, the following

definitions apply:




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      “Complaint” means the complaint filed by the United States in this action, United

States v. Robert Yundt Homes, LLC, No. 3:23-cv-73, Dkt. No. 1 (D. Alaska Apr. 7, 2023).

      “Consent Decree” or “Decree” means this Decree and all appendices listed in

Section XXV (Appendices) and all modifications made effective in accordance with

Section XVII (Modification).

      “Corps” means the United States Army Corps of Engineers and any of its

successor departments or agencies.

      “Cottonwood Lake Order” means the EPA Administrative Order on Consent

entered as Docket No. CWA-10-2022-0006, attached to the Complaint as Exhibit B, and

attached to this Decree as Appendix B.

      “Cottonwood Lake Sites” means (1) the real property that is currently owned by

Robert Yundt Homes at 5560 East Cherry Circle in Wasilla, Alaska, also designated as

Lot 24A, within Section 32, Township 18 North, Range 1 East, Seward Meridian, and

(2) the real property that was owned by Robert Yundt Homes at the time of the violations

in 2019 at 5530 East Cherry Circle in Wasilla, Alaska, also designated as Lot 6A, within

Section 32, Township 18 North, Range 1 East, Seward Meridian.

      “CWA” means the Clean Water Act, 33 U.S.C. §§ 1251-1388.

      “Day” means a calendar day unless expressly stated to be a business day. In

computing any period of time for a deadline under this Consent Decree, where the last




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day would fall on a Saturday, Sunday, or federal holiday, the period runs until the close

of business of the next business day.

       “Defendants” means Robert Yundt Homes, LLC and Robert D. Yundt, II.

       “DOJ” means the United States Department of Justice and any of its successor

departments or agencies.

       “EPA” means the United States Environmental Protection Agency and any of its

successor departments or agencies.

       “Effective Date” means the date provided in Section XV (Effective Date).

       “Final Stabilization Date” means one week (7 days) after this Consent Decree is

entered.

       “Paragraph” means a portion of this Consent Decree identified by an Arabic

numeral.

       “Parties” means the United States and the Defendants.

       “Request for Termination” means the written request presented by Defendants to

the United States in accordance with Section XVIII (Termination).

       “Section,” when not used in conjunction with the CWA (e.g., Section 404 of the

CWA), means a portion of this Decree identified by a Roman numeral.

       “Sites” means the Wasilla Lake Site and Cottonwood Lake Sites.

       “United States” means the United States of America, acting on behalf of the EPA.




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       “Wasilla Lake Order” means the EPA Administrative Order on Consent entered as

Docket No. CWA-10-2022-0007, attached to the Complaint as Exhibit A, and attached to

this Decree as Appendix A.

       “Wasilla Lake Site” means the real property that is currently owned by Trenitie

Yundt at 1165 Westpoint Drive in Wasilla, Alaska, within Section 10, Township 17

North, Range 1 West, Seward Meridian.

                                IV.    CIVIL PENALTY

       13.    Within 30 Days after the Effective Date of this Consent Decree, Defendants

shall pay the sum of $77,500 as a civil penalty, together with interest accruing from the

date on which this Consent Decree is lodged with the Court, at the rate specified in 28

U.S.C. § 1961 on the lodging date.

       14.    Defendants shall make the above-referenced payment by FedWire

Electronic Funds Transfer (“EFT” or wire transfer) to the DOJ account, in accordance

with Instructions provided to Defendants by the Financial Litigation Unit (“FLU”) of the

United States Attorney’s Office for the District of Alaska after the Effective Date. The

payment instructions provided by the FLU will include a Consolidated Debt Collection

System (“CDCS”) number, which Defendants shall use to identify such payment. The

FLU will provide the payment instructions to:

                     Brian J. Stibitz
                     500 L Street, Suite 300
                     Anchorage, Alaska 99501
                     Main: 907-222-7100

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                     Direct: 907-222-7102
                     Email: brian@reevesamodio.com

on behalf of Defendants. Defendants may change the individual to receive payment

instructions on its behalf by providing written notice of such change to the United States

in accordance with Section XIV (Notices).

       15.    At the time of payment, Defendants shall send notice that payment has been

made (i) to EPA via email at steffen.craig@epa.gov and via regular mail at EPA

Cincinnati Finance Office, 26 W. Martin Luther King Drive, Cincinnati, Ohio 45268; and

(ii) to the United States via email in accordance with Section XIV (Notices). Such notice

shall state that the payment is for the civil penalty owed pursuant to the Consent Decree

in United States v. Robert Yundt Homes, LLC, and shall reference the civil action number,

CDCS Number and DOJ case number 90-5-1-1-22275.

       16.    Defendants shall not deduct any penalties paid under this Consent Decree

pursuant to this Section or Section VIII (Stipulated Penalties) in calculating its federal

income tax.

                               V.    INJUNCTIVE RELIEF

       17.    Permanent Injunction. Defendants and Defendants’ agents, successors, and

assigns are enjoined from discharging any pollutant into waters of the United States,

unless such discharge complies with the provisions of the CWA and regulations

promulgated pursuant to the CWA. Except in the event of conflict with this Decree,




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Defendants shall strictly comply with the Wasilla Lake Order and Cottonwood Lake

Order.

         18.   Restoration. Defendants shall restore the Sites by performing all work set

forth in, and in accordance with, Appendix C (Wasilla Lake Restoration Work Plan) and

Appendix D (Cottonwood Lake Restoration Work Plan) in Section XXV (Appendices) of

this Consent Decree, by the Final Stabilization Date. Within 30 Days after completion of

the work, Defendants shall provide written notice to the United States at the addresses

specified in Section XIV (Notices).

         19.   Completion. Upon completion of the restoration work, Defendants shall

submit the Completion Reports required in the Wasilla Lake Order and Cottonwood Lake

Order to the United States in accordance with Section VI (Reporting Requirements).

         20.   Mitigation and Preservation. Within 30 Days after EPA approves the

Completion Report required by Cottonwood Lake Order 5.6, Appendix B at 10, as

compensatory mitigation for fill material at the Cottonwood Lake Sites associated with

(1) the mounded septic system infrastructure on Lot 24A and (2) the house pad on Lot 6A

that will remain in waters of the United States, and to address the temporal losses of

wetlands functions at the Cottonwood Lake Sites, Defendants shall execute and record an

Environmental (Restrictive) Covenant according to the terms of the Cottonwood Lake

Order. In addition to the requirements of the Cottonwood Lake Order:




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             a.     The Environmental (Restrictive) Covenant shall provide the United

      States with the right to enforce it by appropriate legal proceedings, including but

      not limited to enforcement of this Consent Decree.

             b.     Concurrent with the recording of the Environmental (Restrictive)

      Covenant, Defendants shall record a true and correct copy of this Consent Decree

      with the Alaska Department of Natural Resources Recorder’s Office. Thereafter,

      each deed, title, conservation easement, or other instrument conveying an interest

      in any portion of restricted area on Lot 24A shall (1) contain a notice stating that

      Lot 24A is subject to this Consent Decree and the Environmental (Restrictive)

      Covenant; and (2) refer to the recorded location of this Consent Decree and any

      restrictions applicable to Lot 24A under this Consent Decree.

             c.     Within 30 Days after the recording required by subparagraph (b)

      above, Defendants shall provide written notice of such completion, along with a

      true and correct copy of the recorded instrument and Consent Decree, to the

      United States at the addresses specified in Section XIV (Notices).

             d.     Defendants shall not disturb—or allow any other person to disturb—

      the restricted portion of Lot 24A in any manner inconsistent with the foregoing

      subparagraphs or the recorded instrument.

      21.    Monitoring, Maintenance, and Adaptive Management. After Defendants

complete restoration work in accordance with Paragraph 18, and submitted the


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Completion Report in accordance with Paragraph 19, Defendants shall monitor, maintain,

and adaptively manage the Sites in accordance with the Wasilla Lake Order in Appendix

A and the Cottonwood Lake Order in Appendix B. Defendants shall submit copies of the

Annual Monitoring Reports required in the Wasilla Lake Order and Cottonwood Lake

Order reports to the United States in accordance with Section VI (Reporting

Requirements). Within 30 Days after completion of all monitoring, maintenance, and

adaptive management, Defendants shall provide written notice to the United States at the

addresses specified in Section XIV (Notices).

       22.    Permits. Where any obligation under this Section requires Defendants to

obtain a federal, state, or local permit or approval, Defendants shall submit timely and

complete applications and take all other actions necessary to obtain all such permits or

approvals. Defendants may seek relief under the provisions of Section IX (Force

Majeure) for any delay in the performance of any such obligation resulting from a failure

to obtain, or a delay in obtaining, any permit or approval required to fulfill such

obligation, if Defendants have submitted timely and complete applications and have

taken all other actions necessary to obtain all such permits or approvals.

                                   VI.    REPORTING

       23.    Defendants shall submit the following reports to the EPA at the addresses

set forth in Section XIV (Notices):




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             a.     At those times specified by the EPA, the Completion Report and the

      Annual Monitoring Reports required by the Wasilla Lake Order and Cottonwood

      Lake Order.

             b.     On or before July 31st and January 31st of each year following the

      effective date of this Consent Decree, until termination of this Consent Decree

      pursuant to Section XVIII (Termination), a semi-annual report for the preceding

      six months that includes:

                    i.     The status of the Restoration work required by Paragraph 18.

                    ii.    The application and approval status of any permits required

             for Restoration.

                    iii.   Any problems encountered that may delay the Restoration

             work beyond the required Final Stabilization Date, along with a proffered

             solution to complete the Restoration work by the required Final

             Stabilization Date.

                    iv.    Any non-compliance with this Decree, an explanation of the

             violation’s cause, and a description of the remedial steps taken or to be

             taken to correct or mitigate the violation.

             c.     Within 10 Days of any violation of this Decree, a written notice to

      the United States and the EPA, as provided in Section XIV (Notices) of the

      violation, an explanation of the violation’s likely cause if not yet known, and a


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       description of how the violation has been or will be corrected. If the cause of a

       violation cannot be fully explained at the time this notice is due, Defendants shall

       so state in the notice. In these cases, Defendants shall investigate the cause of the

       violation and submit an amendment to the report, including a full explanation of

       the cause of the violation, within 14 Days after the day Defendants became aware

       of the cause of the violation. Nothing in this Paragraph or the following Paragraph

       relieves Defendants of their obligation to provide the notice required by Section

       IX (Force Majeure), if applicable.

              d.      As soon as possible, and in no event later than 24 hours from the

       time discovered, a telephonic notice to the EPA at (907) 271-3411 or, if that

       number is unavailable, (907) 271-3914 of any action or event related to this

       Decree that may pose an immediate threat to the public health or welfare or the

       environment.

       24.    The reporting requirements of this Consent Decree do not relieve

Defendants of any reporting obligations otherwise required by federal, state, or local law,

regulation, permit, or other requirement.

       25.    Any information provided pursuant to this Consent Decree may be used by

the United States in any proceeding to enforce the provisions of this Consent Decree and

as otherwise permitted by law.




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                                VII.   CERTIFICATION

       26.    Every written report or notice submitted by Defendants under Section V

(Injunctive Relief), Section VI (Reporting), Section IX (Force Majeure), Section XI (Site

Access and Information Collection and Retention) shall be signed by an official of the

submitting party and include the following certification:

       I certify under penalty of perjury that this document and all attachments
       were prepared under my direction or supervision in accordance with a
       system designed to assure that qualified personnel properly gather and
       evaluate the information submitted. Based on my inquiry of the person or
       persons who manage the system, or those persons directly responsible for
       gathering the information, the information submitted is, to the best of my
       knowledge and belief, true, accurate, and complete. I have no personal
       knowledge that the information submitted is other than true, accurate, and
       complete. I am aware that there are significant penalties for submitting
       false information, including the possibility of fine and imprisonment for
       knowing violations.

                        VIII.     STIPULATED PENALTIES

       27.    Defendants shall be liable for stipulated penalties to the United States for

violations of this Consent Decree as specified below, unless excused under Section IX

(Force Majeure). A violation includes failing to perform any obligation required by the

terms of this Consent Decree, including any Appendix listed in Section XXV

(Appendices), according to all applicable requirements of this Consent Decree and within

the specified time schedules established by or approved under this Consent Decree.




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       28.      Late payment of civil penalty. If Defendants fail to pay the civil penalty

required to be paid under Section IV (Civil Penalty) when due, Defendants shall pay a

stipulated penalty of $500 per Day for each Day that the payment is late.

       29.      Non-compliance with injunctive relief. The following stipulated penalties

shall accrue per violation per Day for each violation of the various prohibitions and

obligations set forth in Section V (Injunctive Relief):

Penalty Per Violation Per Day                      Period of Noncompliance

       $1,000                                      1st through 14th Day

       $2,000                                      15th through 30th Day

       $3,000                                      31st Day and beyond

       30.      Non-compliance with reporting requirements. The following stipulated

penalties shall accrue per violation per Day for each violation of the requirements of

Section VI (Reporting):

Penalty Per Violation Per Day                      Period of Noncompliance

       $500                                        1st through 14th Day

       $1,000                                      15th through 30th Day

       $1,500                                      31st Day and beyond

       31.      Non-compliance with all other requirements. The following stipulated

penalties shall accrue per violation per Day for each violation of any other requirement of




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this Consent Decree:

Penalty Per Violation Per Day                      Period of Noncompliance

       $500                                        1st through 14th Day

       $1,000                                      15th through 30th Day

       $1,500                                      31st Day and beyond

       32.      Stipulated penalties under this Section shall begin to accrue on the Day a

violation occurs and shall continue to accrue until the violation ceases. Each violation

shall trigger its own stipulated penalty and multiple stipulated penalties shall accrue

simultaneously for separate violations of this Consent Decree.

       33.      Defendants shall pay any stipulated penalty within 30 Days after receiving

the United States’ written demand.

       34.      The United States may, in the unreviewable exercise of its discretion,

reduce or waive stipulated penalties otherwise due it under this Consent Decree.

       35.      Stipulated penalties shall continue to accrue during any Dispute Resolution,

but need not be paid until the following:

                a.     If the dispute is resolved by agreement of the Parties or by a decision

       of the EPA that is not appealed to the Court, Defendants shall pay accrued

       penalties determined to be owing, together with interest, to the United States

       within 30 Days after the effective date of the agreement or the receipt of the

       EPA’s decision.


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              b.      If the dispute is appealed to the Court and the United States prevails

       in whole or in part, Defendants shall pay all accrued penalties determined by the

       Court to be owing, together with interest, within 60 Days after receiving the

       Court’s decision or order, except as provided in subparagraph (c), below.

              c.      If any Party appeals the Court’s decision, Defendants shall pay all

       accrued penalties determined to be owing, together with interest, within 15 Days

       after the mandate issues.

       36.    Defendants shall pay stipulated penalties owing to the United States in the

manner set forth in Section IV (Civil Penalty) and with the confirmation notices required

therein, except that the transmittal letter shall state that the payment is for stipulated

penalties and shall state for which violation(s) the penalties are being paid.

       37.    If Defendants fail to pay stipulated penalties according to the terms of this

Consent Decree, Defendants shall be liable for interest on such penalties, as provided for

in 28 U.S.C. § 1961, accruing as of the date payment became due. Nothing in this

Paragraph shall be construed to limit the United States from seeking any remedy

otherwise provided by law for Defendants’ failure to pay any stipulated penalties.

       38.    The payment of penalties and interest, if any, shall not alter in any way

Defendants’ obligation to complete performance of this Consent’s Decree’s requirements.

       39.    Non-Exclusivity of Remedy. Stipulated penalties are not the United States’

exclusive remedy for violations of this Consent Decree. Subject to the provisions of


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Section XII (Scope and Effect/Reservation of Rights), the United States expressly

reserves the right to seek any other relief it deems appropriate for Defendants’ violation

of this Decree or applicable law, including but not limited to an action against the

Defendants for statutory penalties, additional injunctive relief, mitigation or offset

measures, and/or contempt. However, the amount of any statutory penalty assessed for a

violation of this Consent Decree shall be reduced by an amount equal to the amount of

any stipulated penalty assessed and paid pursuant to this Consent Decree.

                                IX.    FORCE MAJEURE

       40.    “Force majeure,” for purposes of this Consent Decree, is defined as any

event arising from causes beyond the control of Defendants, of any entity controlled by

Defendants, or of Defendants’ contractors, that delays or prevents the performance of any

obligation under this Consent Decree despite Defendants’ best efforts to fulfill the

obligation. The requirement that Defendants exercise “best efforts to fulfill the

obligation” includes using best efforts to anticipate any potential force majeure and best

efforts to address the effects of any potential force majeure (a) as it is occurring and

(b) following the potential force majeure, such that the delay and any adverse effects of

the delay are minimized. “Force majeure” does not include Defendants’ financial

inability to perform any obligation under this Consent Decree. “Force majeure” does not

include Defendants’ failure to obtain required permits to perform under this Decree,




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unless Defendants have timely submitted all information required by the relevant

permitting authority.

       41.    If any event occurs or has occurred that may delay the performance of any

obligation under this Consent Decree, whether or not caused by a force majeure,

Defendants shall provide notice by telephone to Mark Jen at (907) 271-3411 and by email

at jen.mark@epa.gov, within 72 hours of when Defendants first knew that the event

might cause a delay. Within seven Days thereafter, Defendants shall provide in writing

to the EPA an explanation and description of the reasons for the delay; the anticipated

duration of the delay; all actions taken or to be taken to prevent or minimize the delay; a

schedule for implementation of any measures to be taken to prevent or mitigate the delay

or the effect of the delay; Defendants’ rationale for attributing such delay to a force

majeure if it intends to assert such a claim; and a statement as to whether, in the opinion

of Defendants, such event may cause or contribute to an endangerment to public health,

welfare or the environment. Defendants shall include with any notice all available

documentation supporting the claim that the delay was attributable to a force majeure.

Failure to comply with the above requirements shall preclude Defendants from asserting

any claim of force majeure for that event for the period of time of such failure to comply,

and for any additional delay caused by such failure. Defendants shall be deemed to know

of any circumstance of which Defendants, any entity controlled by Defendants, or

Defendants’ contractors knew or should have known.


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       42.    If the United States agrees that the delay or anticipated delay is attributable

to a force majeure, the United States may extend the time for performance of the

obligations under this Consent Decree that are affected by the force majeure for as long

as necessary to complete those obligations. An extension of the time for performance of

the obligations affected by the force majeure event shall not, of itself, extend the time for

performance of any other obligation. The United States will notify Defendants in writing

of the length of the extension, if any, for performance of the obligations affected by the

force majeure.

       43.    If the United States does not agree that the delay or anticipated delay has

been or will be caused by a force majeure, EPA will notify Defendants in writing of its

decision.

       44.    If Defendants elect to invoke the dispute resolution procedures set forth in

Section X (Dispute Resolution) over a claim of force majeure, it shall do so no later than

14 Days after receipt of the United States’ decision under Paragraphs 42–43. In any such

proceeding, Defendants shall have the burden of demonstrating by a preponderance of the

evidence that the delay or anticipated delay has been or will be caused by a force

majeure, that the duration of the delay or the extension sought was or will be warranted

under the circumstances, that best efforts were exercised to avoid and mitigate the effects

of the delay, and that Defendants complied with the requirements of this Section. If




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Defendants carry this burden, the delay at issue shall be deemed not to be a violation of

the affected obligation of this Consent Decree.

                             X.    DISPUTE RESOLUTION

       45.    Unless otherwise expressly provided for in this Consent Decree, the dispute

resolution procedures of this Section shall be the exclusive mechanism to resolve disputes

arising under or with respect to this Consent Decree. Defendants’ failure to seek

resolution of a dispute under this Section shall preclude Defendants from raising any such

issue as a defense to an action by the United States to enforce any obligation of

Defendants arising under this Decree.

       46.    Informal Dispute Resolution. Any dispute under this Consent Decree shall

first be the subject of informal negotiations. The dispute shall be considered to have

arisen when Defendants send the United States a written Notice of Dispute to the

addresses set forth in Section XIV (Notices). Such Notice of Dispute shall state clearly

the matter in dispute. The period of informal negotiations shall not exceed 20 Days from

the date the dispute arises, unless that period is modified by written agreement. If the

Parties cannot resolve a dispute by informal negotiations, then the position advanced by

the United States shall be considered binding unless, within 30 Days after the conclusion

of the informal negotiation period, Defendants invoke formal dispute resolution

procedures as set forth below.




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       47.    Formal Dispute Resolution. To invoke formal dispute resolution,

Defendants shall send the United States (in accordance with Section XIV (Notices)) a

written Statement of Position regarding the matter in dispute. The Statement of Position

shall include, but need not be limited to, any factual data, analysis, or opinion supporting

Defendants’ position and any supporting documentation relied upon by Defendants.

       48.    The United States shall serve its Statement of Position within 45 Days of

receipt of Defendants’ Statement of Position. The United States’ Statement of Position

shall include, but need not be limited to, any factual data, analysis, or opinion supporting

that position and any supporting documentation relied upon by the United States. The

United States’ Statement of Position shall be binding on Defendants unless Defendants

file a motion for judicial review of the dispute in accordance with the following

Paragraph within 14 Days of their receipt of the United States’ Statement of Position.

       49.    Judicial Dispute Resolution. Defendants may seek judicial review of the

dispute by filing with the Court and serving on the United States a motion requesting

judicial resolution of the dispute. The motion (a) must be filed within 14 Days after

receipt of the United States’ Statement of Position pursuant to the preceding Paragraph;

(b) may not raise any issue not raised in the informal dispute resolution process required

by this Section, unless the United States raises a new issue of law or fact in its Statement

of Position; (c) shall contain a written statement of Defendants’ position on the matter in

dispute, including any supporting factual data, analysis, opinion, or documentation; and


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(d) shall set forth the relief requested and any schedule within which the dispute must be

resolved for orderly implementation of the Consent Decree.

       50.    The United States shall respond to Defendants’ motion within the time

period allowed by the Local Rules of this Court. Defendants may file a reply

memorandum, to the extent permitted by the Local Rules.

       51.    Standard of Review.

              a.     Disputes Concerning Matters Ordinarily Accorded Record Review.

       Except as otherwise provided in this Consent Decree, in any dispute pertaining to

       the adequacy or appropriateness of plans, procedures to implement plans,

       schedules, or any other items requiring approval by the EPA under this Consent

       Decree; the adequacy of the performance of work undertaken pursuant to this

       Consent Decree; and all other disputes that are ordinarily accorded review on the

       administrative record under applicable principles of administrative law,

       Defendants shall have the burden of demonstrating, based on the record in

       existence after Formal Dispute Resolution, that the position of the United States is

       arbitrary and capricious or otherwise not in accordance with law.

              b.     Other Disputes. Except as otherwise provided in this Consent

       Decree, in any other dispute, Defendants shall bear the burden of demonstrating

       that its position complies with this Consent Decree.




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       52.     The invocation of dispute resolution procedures under this Section shall

not, by itself, extend, postpone, or affect in any way any obligation of Defendants under

this Consent Decree, unless and until final resolution of the dispute so provides.

Stipulated penalties with respect to the disputed matter shall continue to accrue from the

first Day of noncompliance, but payment shall be stayed pending resolution of the dispute

as provided in Section VIII (Stipulated Penalties). If Defendants do not prevail on the

disputed issue, stipulated penalties shall be assessed and paid as provided in Section VIII

(Stipulated Penalties).

 XI.      SITE ACCESS AND INFORMATION COLLECTION AND RETENTION

       53.     Until five years after this Decree is terminated, the United States and its

representatives, including attorneys, contractors, consultants, and EPA personnel, shall

have the right of entry into the Sites at all reasonable times, upon presentation of

credentials, to:

       a.      monitor the progress of Injunctive Relief required under this Consent

Decree;

       b.      verify any data or information submitted to the United States in accordance

with the terms of this Consent Decree;

       c.      obtain samples and, upon request, splits of any samples taken by the

Defendants or its representatives, contractors, or consultants;

       d.      obtain documentary evidence, including photographs and similar data; and


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       e.     assess Defendants’ compliance with this Consent Decree.

       65.    Upon request, Defendants shall provide the United States or its authorized

representative splits of any samples taken by Defendants.

       66.    Until five years after the Day of termination of this Consent Decree,

Defendants shall retain, and shall instruct its contractors and agents to preserve, all non-

identical copies of all documents, records, or other information (including documents,

records, or other information in electronic form) in its or its contractors’ or agents’

possession or control, or that come into its or its contractors’ or agents’ possession or

control, that relate in any manner to Defendants’ performance of their obligations under

this Consent Decree. This information-retention requirement shall apply regardless of

any contrary corporate or institutional policies or procedures. At any time during this

information-retention period, upon request by the United States, Defendants shall provide

copies of any documents, records, or other information required to be maintained under

this Paragraph.

       67.    At least 90 Days before the conclusion of the information-retention period

provided in the preceding Paragraph, Defendants shall notify the United States, at the

addresses set forth in Section XIV (Notices), that their information-retention period is

ending, and if they intend to destroy any documents that were required to be retained.

Upon request by the United States made before the conclusion of the information-

retention period, and at least 90 Days before the destruction of any documents, records,


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or other information subject to the requirements of the preceding Paragraph, Defendants

shall deliver any such documents, records, or other information to the United States.

       68.    Defendants may assert that certain documents, records, or other information

are privileged under the attorney-client privilege or any other privilege recognized by

federal law. If Defendants assert such a privilege, they shall provide the following in

writing: (a) the title of the document, record, or information; (b) the date of the

document, record, or information; (c) the name and title of each author of the document,

record, or information; (d) the name and title of each addressee and recipient; (e) a

description of the subject of the document, record, or information; and (f) the privilege

asserted by Defendants. However, no documents, records, or other information created

or generated pursuant to the requirements of this Consent Decree shall be withheld on

grounds of privilege.

       69.    Defendants may also assert that information required to be provided under

this Section is protected as Confidential Business Information (“CBI”) under 40 C.F.R.

Part 2. As to any information that Defendants seek to protect as CBI, Defendants shall

follow the procedures set forth in 40 C.F.R. Part 2.

       70.    This Consent Decree in no way limits or affects any right of entry and

inspection, or any right to obtain information, held by the United States pursuant to

applicable federal laws, regulations, or permits, nor does it limit or affect any duty or




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obligation of Defendants to maintain documents, records, or other information imposed

by applicable federal or state laws, regulations, or permits.

             XII.   SCOPE AND EFFECT/RESERVATION OF RIGHTS

       71.     This Consent Decree resolves and shall constitute a complete and final

settlement of the civil claims of the United States alleged in the Complaint through the

date of the lodging of this Consent Decree.

       72.     The United States reserves all legal and equitable remedies available to

enforce the provisions of this Consent Decree and applicable law. This Consent Decree

shall not be construed to limit the rights of the United States to obtain penalties or

injunctive relief under the CWA or implementing regulations, or under other federal

laws, regulations, or permit conditions, except as expressly specified in Paragraph 71.

       73.     In any subsequent administrative or judicial proceeding initiated by the

United States for injunctive relief, civil penalties, other appropriate relief relating to the

Sites, Defendants shall not assert, and may not maintain, any defense or claim based upon

the principles of waiver, res judicata, collateral estoppel, issue preclusion, claim

preclusion, claim-splitting, or other defenses based upon any contention that the claims

raised by the United States in the subsequent proceeding were or should have been

brought in the instant case, except with respect to claims that have been specifically

resolved pursuant to Paragraph 71 above.




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       74.     Nationwide Permit 32. The Parties acknowledge that, as of the Effective

Date, Nationwide Permit 32, 86 Fed. Reg. 73,522, 73,579 (Dec. 27, 2021), provides

CWA Section 404 authorization, subject to the conditions provided in Nationwide Permit

32 and this Consent Decree, for certain dredged or fill material that was placed as of

August 31, 2021 at the Sites to remain in place. The Parties further acknowledge that, as

of the Effective Date, Nationwide Permit 32, 86 Fed. Reg. 73,522, 73,579 (Dec. 27,

2021), provides CWA Section 404 authorization, subject to the conditions provided in

Nationwide Permit 32 and this Consent Decree, for the discharge of dredged or fill

material that is necessary for Defendants to fulfill the restoration requirements of this

Consent Decree.

       75.    This Consent Decree is not a permit, or a modification of any permit, under

any federal, State, or local laws or regulations. Defendants are responsible for achieving

and maintaining complete compliance with all applicable federal, State, and local laws,

regulations, and permits; and Defendants’ compliance with this Consent Decree shall be

no defense to any action commenced pursuant to any such laws, regulations, or permits,

except as set forth herein. The United States does not, by its consent to the entry of this

Consent Decree, warrant or aver in any manner that Defendants’ compliance with any

aspect of this Consent Decree will result in compliance with any provisions of federal,

State, or local laws, regulations, or permits.




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       76.    Nothing in this Consent Decree shall limit the ability of the Corps to issue,

modify, suspend, revoke, or deny any individual permit or any nationwide or regional

permit, nor shall this Consent Decree limit EPA’s ability to exercise its authority pursuant

to Section 404(c) of the CWA, 33 U.S.C. § 1344(c).

       77.    This Consent Decree does not limit or affect the rights of Defendants or of

the United States against any third parties to this Consent Decree, nor does it limit the

rights of such third parties against Defendants, except as otherwise provided by law.

       78.    This Consent Decree shall not be construed to create rights in, or grant any

cause of action to, any third party to this Consent Decree.

                                    XIII.     COSTS

       79.    The Parties shall bear their own costs of this action, including attorneys’

fees, except that, should Defendants subsequently be determined by the Court to have

violated any provision of this Consent Decree, the United States shall be entitled to

collect the costs, including attorneys’ fees, incurred in any action to enforce this Consent

Decree.

                                   XIV.     NOTICES

       80.    Unless otherwise specified herein, whenever notifications, submissions, or

communications are required by this Consent Decree, they shall be made in writing, sent

by email, and addressed as follows:

As to DOJ by email:


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       Daniel Martin                Daniel.Martin3@usdoj.gov

       Laura Brown                  Laura.J.S.Brown@usdoj.gov

              Re: DJ # 90-5-1-1-22275


As to EPA by email:

       Mark Jen                     jen.mark@epa.gov

       Patrick Johnson              johnson.patrick@epa.gov

As to the Defendants:

       Robert D. Yundt II           ryh.accts@gmail.com

       Brian J. Stibitz             brian@reevesamodio.com



       81.    Any Party may, by written notice to the other Parties in accordance with

this Section, change its designated notice recipient or notice address provided above.

       82.    Notices submitted pursuant to this Section shall be deemed submitted upon

mailing or transmission by email, unless otherwise provided in this Consent Decree or by

mutual agreement of the Parties in writing.

                              XV.     EFFECTIVE DATE

       83.    The Effective Date of this Consent Decree shall be the date upon which this

Consent Decree is entered by the Court or a motion to enter the Consent Decree is

granted, whichever occurs first, as recorded on the Court’s docket.




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                     XVI.     RETENTION OF JURISDICTION

       84.    The Court retains jurisdiction over this case for the purpose of resolving

disputes arising under this Consent Decree, entering orders modifying this Consent

Decree pursuant to Sections X and XVII, or effectuating or enforcing compliance with

the terms of this Consent Decree.

                             XVII.     MODIFICATION

       85.    The terms of this Consent Decree may be modified only by a subsequent

written agreement signed by all the Parties and approved by the Court; provided,

however, that the Parties may modify the Appendices listed in Section XXV

(Appendices) and the Final Stabilization Date by written agreement signed by all the

Parties.

       86.    Any disputes concerning modification of this Consent Decree shall be

resolved pursuant to Section X (Dispute Resolution), provided, however, that, instead of

the burden of proof provided by Paragraph 51, the party seeking the modification bears

the burden of demonstrating that it is entitled to the requested modification in accordance

with Federal Rule of Civil Procedure 60(b).

                             XVIII.     TERMINATION

       87.    After the Defendants have completed all of the requirements of Section IV

(Civil Penalty) and Section V (Injunctive Relief), and has complied with all other

requirements of this Consent Decree, Defendants may serve upon the United States a


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Request for Termination, certifying that Defendants have satisfied those requirements,

together with all necessary supporting documentation.

       88.    Following receipt by the United States of Defendants’ Request for

Termination, the Parties shall confer informally concerning the Request for Termination

and any disagreement that the Parties may have as to whether Defendants have satisfac-

torily complied with the requirements for termination of this Consent Decree. If the

United States agrees that the Consent Decree may be terminated, the Parties shall submit,

for the Court’s approval, a joint stipulation or other appropriate document requesting

termination of the Consent Decree.

       89.    If the United States does not agree that the Consent Decree may be

terminated, Defendants may invoke Dispute Resolution under Section X (Dispute

Resolution). However, Defendants shall not seek Dispute Resolution of any dispute

regarding termination until 30 Days after service of its Request for Termination. If the

United States disputes that the criteria for termination have been met, this Consent

Decree shall remain in effect pending resolution of the dispute by the Parties or the Court.

       90.    Irrespective of Paragraphs 87–89 above, termination of this Consent Decree

does not extinguish the requirements of Paragraph 17–21. In addition, irrespective of

Paragraphs 87–89 above, termination of this Consent Decree does not affect the

expiration of Defendants’ record retention obligations under Section XI (Site Access and

Information Collection and Retention).


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                             XIX.     PUBLIC COMMENT

       91.    The Parties acknowledge that this Consent Decree shall be lodged with the

Court for a period of not less than 30 Days to allow for public notice and comment in

accordance with 28 C.F.R. § 50.7. The United States reserves the right to withdraw or

withhold its consent if the comments regarding the Consent Decree disclose facts or

considerations indicating that the Consent Decree is inappropriate, improper, or

inadequate. Defendants consent to entry of this Consent Decree without further notice

and agree not to withdraw from or oppose entry of this Consent Decree by the Court or to

challenge any provision of the Consent Decree, unless the United States has notified

Defendants in writing that it no longer supports entry of the Consent Decree.

                           XX.      SIGNATORIES/SERVICE

       92.    Each undersigned representative of Defendants and the U.S. Department of

Justice certifies that he or she is fully authorized to enter into the terms and conditions of

this Consent Decree and to execute and legally bind the party he or she represents to this

document.

       93.    This Consent Decree may be signed in counterparts, and its validity shall

not be challenged on that basis. Defendants agrees to accept service of process by email

with respect to all matters arising under or relating to this Consent Decree and to waive

the formal service requirements set forth in Rules 4 and 5 of the Federal Rules of Civil

Procedure and any applicable Local Rules of this Court including, but not limited to,


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service of a summons. Defendants need not file an answer to the Complaint in this action

unless or until the Court expressly declines to enter this Consent Decree.

                               XXI.      INTEGRATION

       94.    This Consent Decree constitutes the entire agreement among the Parties

regarding the subject matter of the Consent Decree and supersedes all prior

representations, agreements and understandings, whether oral or written, concerning the

subject matter of the Consent Decree herein.

             XXII.     26 U.S.C. § 162(f)(2)(A)(ii) IDENTIFICATION

       95.    For purposes of the identification requirement in Section 162(f)(2)(A)(ii) of

the Internal Revenue Code, 26 U.S.C. § 162(f)(2)(A)(ii), and 26 C.F.R. § 1.162-21(b)(2),

performance of Section V (Injunctive Relief) and Section XI (Site Access and

Information Collection and Retention) is restitution, remediation, or required to come

into compliance with law.

                               XXIII.     HEADINGS

       96.    Headings to the Sections, Paragraphs, or other provisions of this Consent

Decree are provided for convenience and do not affect the meaning or interpretation of

the provisions of this Consent Decree.




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                          XXIV.       FINAL JUDGMENT

      97.     Upon approval and entry of this Consent Decree by the Court, as recorded

on the Court’s docket, this Consent Decree shall constitute and have the force and effect

of a final judgment of the Court as to the United States and Defendants.

                               XXV.     APPENDICES

      98.     The following appendices are attached to and part of this Consent Decree:

Appendix A:         The Wasilla Lake Order - Administrative Order on Consent (Docket
                    No. CWA-10-2022-0007)

Appendix B:         The Cottonwood Lake Order - Administrative Order on Consent
                    (Docket No. CWA-10-2022-0006)

Appendix C:         EPA-Approved Wasilla Lake Restoration Work Plan

Appendix D:         EPA-Approved Cottonwood Lake Restoration Work Plan



                                 IT IS SO ORDERED.

      IT IS SO ORDERED the 25th day of September 2023, at Anchorage, Alaska.



                                                      /s/ Joshua M. Kindred
                                                     JOSHUA M. KINDRED
                                                UNITED STATES DISTRICT JUDGE




________________________________________________________________________

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                  FOR THE UNITED STATES OF AMERICA:
07/21/2023
______________
Date
                                     TODD KIM
                                     Assistant Attorney General
                                     Environment and Natural
                                     Resources Division

                                     S. LANE TUCKER
                                     United States Attorney
                                     District of Alaska
                                                       Digitally signed by
                                          DANIEL       DANIEL MARTIN

                                      /s/ MARTIN
                                                       Date: 2023.07.21
                                                       12:42:25 -04'00'

                                      DANIEL J. MARTIN
                                      LAURA J.S. BROWN
                                      Environmental Defense Section
                                      United States Department of Justice
                                      P.O. Box 7611
                                      Washington, DC 20044
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                 Appendix A




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                 `ÒwÜ\¤Ì\µÜ¶ÜT\ÜÍ²\YÜNY ¥Üµy\¥Ü\£Ì~\·Ü¶zNµÜÔÜT\Ü

                 \Ø\YÜ¶ÜÛ\ÜÔ\·NYÜ~NV·²5ÜNYÜ(Ü·y\ÜO\²ÜOYÜV¶OV¶Ü

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                 Ã\ÜÔ¥ÜÌY\¥ÜÃ²ÜH\²·¥N·ÜL¥ÜGNÜNYÜµy²ÜD¥Y\¥9Ü

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                 WÑ¸O~²ÜÔ¥Ü¥OV¶V\²Ü\¶VÜH\²[\µÜÔÜ\ØÜYÌ¥~wÜ¶z\Ü¥\²¶¥N¶Ü

                 OVµ~Ò~¶\²Ü¶Ü~~ÎÜ·Ü·y\ÜNÖÌÜ\Öµ\µÜ¦NV¶VNT\3Ü$Üµy\ÜY²VzO¥w\ÜfÜ

                 ²\Z\¶ÜNYÜ¶y\¥ÜÍ¶N¶²ÜµÜÔN·\¥²ÜdÜÃ\ÜK~µ\YÜI·N¶\²ÜVÌZwÜ

                 Ô\µNY²6ÜNYÜ&Ü²~ÜVNV·ÜNYÜZNNw\ÜµÜ\×²¶wÜÒ\w\µNµ~9Ü

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QÓQ QU_Ü¨xµ²Ü¶ÜÌYXNÜ¥ÜNY ²µ¥NºÓ_Ü¥_Ó_ÔÜµ{N½ÜH_²¡Y_½ÜQÚÜ{NÒ_ÜÔµ{Ü§_²¡_X¶Ü¶Ü

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/ʥ5Uʥ ʥ=!ʥ-ʥHD5R ʥʥ)ʥʥ ʥ ʥ¹ #ʥD== DkʥDHJ#ʥ ʥp, ʥ

pDʥ ʥH-ŽDʥʥʥR-ʥ,$ʥȵpʥÄʥ/ʥ$­ʥ<RH,¦ʥʥDʥp îʥ$ʥp J)ʥ

$žDʥʥʥ ##ʥp, 3ʥ M4ʥ+3zf¥eʥ 124ƶ2őʥM4ʥ+Qï:¥:ʥ2L4`ʥ`\íqLeʥ

       Lʥ1\Qʥ Ĕ¼AɸVʥ=ĵʥǓtʥ"ʥ$ʥ¥$¾ʥ

       Ly12¬ʥ [A )½Íʥʥ$ų$ʥʥ%Dʥ£42`£ʥÄʥ/ʥ+C".ʥ=ʥʥ[$F$H ʥ

Dćķ ½ʥ ʋ .ʥDkʥ%Uʥ=D !.ʥD==Uʥ ʥ DʥH-JFʥ'ʥ

ʥ%Ĩ.ʥ ʥ,!ʥ<ʥ-$!3âʥ LLʥ²3%e+Qʥ 1LW2`£ʥ

       L¾\LQʥ [A(ʥ¦DÍʥʥ$ıcʥʥ%ʥ£42`\MʥNʥ/ʥ+C".ʥ=ʥ[_ʥ

$(DƋRkʥɦ$ʥ$ʥ$D ĽʥF!Dʥ 3  ȹ
                                               ʥ =ʥp/Dʥ ʥ ʥ ʥ=,Ɯʥ-ʥ

$D,¦#$3âʥ LLʥ²f%¬+Qʥ 1LW2`1M3ʥ

       L:1hQʥ Ƥƥt Hĵ.Íʥ,)ʥJĪʥʥ%´ʥ£42`Wʥ'ʥʥ+C"½ʥ=ʥ[$ $#$ʥ5ʥ

$ʥp,).ʥD   ʥ $HUʥ)p#.ʥ# R#Uʥp#ʥ H$#.ʥ= .ʥD=D ʥpƩʥ

R #Dʥ=È(.ʥ JDʆFʥ=ĺ  .ʥ/.ʥp0 Dƀ$ʥ ʥ$D,¦$$ʥ(5=.ʥ Dƀkʥ$ƪʥ

Dɚ  ʥ$ .ʥ$ʥ $Hʍ.ʥ=ŃD5 kʥ,ĵ$ʥ# DH0 ʥpʥ$)D #$ʥ( ʥpĺ Ơʥ LLʥ²Ʒ%Ƹ+eʥ

aʥ\LW2`W3ʥ

                             !(      ( ( (("(

       h¬1:ʥ   ¥$ʥʥʥ =$ʥ -!ʥD=!ʥDcʥĺʥD$Dʥ-Ńʥ( ʥʥ

%ʥÄʥ" Üʥ,$ʥʥĉ ʥʥ[ķ Íʥ,)ʥJȭ$ʥ-!ʥ+C"ʥ%ʥ£42`£.ʥLLʥ²:%ě+ƹʥ

aʥ1LW2`£ʥ

       hƺ2ʥ   "ʥ=ʥ Fʥʥʥ? $ kʥ ¥5$ʥp$ʥ$.ʥ ʥD¦ $ʥ/ʥ

%ʥ$Ȯ$ʥʥǖʟRʥ"ʥÄʥ/(ʥ?0Ī fʥ




 9MB1,M&BB,?M;/M !;(,?BM%H:*BM;7.MM                     #"M9I2?;98,9B'6M ?=C-E>:M0,9)LM
 <)5,BMF8(,?M $  M                                  M"3KC1MJ,:G,M"F2C,M MM
 +8493@B?&DI,M?*,?M;9M ;9A,9BM                                          ",&CB6,M$'A1:0B;9M  M
 &0,M M;/MM




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       MQyʥ                                                       
               u/ʥ%ʥ>}ʥ7 ȅJ)ʥÞʥ ʥ$ɐʥʥ+>$ʥÂ}ɕ ʥʥ 7lF !ʥ

5<ʥ :ʥ +7ɧ$ʥĢIʥ/ʥʥ>Ŀ>Hʥ¨<¶ʥȊ ʥ>>ʥ7ʥ+ċ>$ʥ

+ I.ʥʥ >l} ʥʐ- !ʥʥʥ>ʥ ¶}ʥ ʥ>ʥƓʥCƁ ʥĢIÓʥ C, ʥ

ĢI ʥʥ  F !ʥă }·>7ʥ7 ʥ/,)ʥʥ>ß>ʥ¨ ¶}ʥ ʥ>>ċ>ʥʥ+$ʥ

+Ĉ I.ʥʥ   ʥÉ- !ʥ/ʥʥ> ʥHÉ¶ʥ7 ʥ Ļʥʥ/ʥð>Iʥbă·ʥ'ʥ+Iʥ

Ǣ 3ʥ uʥðIʥbă>ʥ'ʥ+Ăʥ°7ʥʥ-ā´7ʥ7ʥ/ʥ--ʥ$ʥȶʥ'ʥʥċ$Uʥʥʥʎ7ʥ

F#}-Ɓʥ7 ʥ$ʥʥʥ/ Ãą ʥʥ ʥNʥ/ʥ²ūʥ%}3ʥ bʥ/.ʥ+7>$ʥÂIʥ$ʥ

ʥ$Ĵ>ʥ7>Jʥ ʥ[>ʛ#- ʥ<)àʥ/ ʥʥ >#ʥ'ʥ+Cʥbʥ%>ʥj42ÎìP.ʥʥ

Y3%3+¬ʥ 1W2BǋP ʥ>$ʥ<ʥ¼Ĕ  )ʥ'ʥʃʥY$ʥ%})âʥʥʥ>>#ʥNʥM4ʥ+ï3]Qʥ 124¾2ʥ

>$ʥM4ʥ+:ïe]Qʥaʥ24ÎPʥĖ¡ííP:ʥ

       M3MŊʥ   œ#·>#ʥ>ʥ ʥ $ʥb5  ʥ2ë.ʥ24¡íƫʥ]>$>7ʥ$ǃ ʥ )·ʥ7 #ʥ>ʥʥ

-/mNÁʥ

               M:Me1ʥ YJʥ ʥ/T!ʥȉFl #ʥ>.ʥ>m$#ʥ,ʥF ʥ$ʥ

                      $ʥŁʖI.ʥ7ʥ  ʥ·$ʥ$/ #ʥɃF .ʥ>ċFʥ #,ʥl.ʥ$!ʥ

                      $-  ʥ / ʥ>$ʥ#ʥ7ʥʥ%îʥŦ$ʥ

               M:M:2ʥ Aūʥ§ʥ7  ʥ7ʥ$ʥ}ũſ>7ʥ7ʥ+Ɠ$ʥÂIʥ

       MQjQʥ                          
               u/ʥHÉʥȢʥ]5>$>ĕʥF7ʥ,ʥʥ/> !ʥ $ʥm ʥ,·$ʥ

5 5<ʥ/ʥ%7ʥ ʥ $7} ʥ$F 57:ʥ

       M3ëŊʥ   Ƿʥl5ʥ N $ʥʥA # }/ʥMQMQ1ʥʥʥĔ¼>ʥ âʥ/l·ʥʥ

>#ʥ'+Cbʥ%ʥ42ÎōMP.ʥʥ²ƻ%3+eʥ 1ë2Î1Mė3ʥ




 DZO;3Z+QP3IZH7Z $G-3IPZ)VE1OZHC6ZZ                        =F Eą;*" Mą[(m/ą (oą
 H/@3OZUC.3IZ (B 'Z                                     ą *ą ` -ą `* ą¡NąT2ą
 1C?LQJ*SY3Z!J23JZHDZHEM3EOZ                                                Ną* %ą Uą
 "+:3Z&ZH8Z Z




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       C[nĬ   bĬ DĬ c Ĭì Ĭ5  ĬĬ)  Ĭ c Ĭ  Ĭ* Ĭ ĬĬ

V %ĬĬ Ĭ Ĭ 80ĬĬçJĬ EĬ.?2Ĭ6(6A"Ĭ DĬ $ 0Ĭ *$Ĭ Ĭ

 "Ĭ GĬV?0Ĭ"ĬEĬ d"ĬĬ %ĬĬ Ĭª8 DĬČĬ c Ĭ Ĭ

  «Ĭ 5 ĬĬĬ HĬ6:Ĭ'(j)ºĬ 4#4\40Ĭ ĬĬ %Ĭ Ĭ *ĬĬ  E¬Ĭ

  ĬĬ Ĭ %'7,Ĭ&         ĬÂ:4@_90Ĭ##Ĭ+&'Ĭ ;#m4@m9·Ĭ

       6(`(Ĭ   GĬ/ ĬĬ8?Ĭ c Ĭ Ĭ?* Ĭ Ĭ 2Ĭ Ĭ %Ĭ5ĬP *DĬ&="Ĭ

)  Ĭ Ĭ ĬĬ­ ?Ĭ HĬ  ÔJĬò ĬĬ * Ĭ ?Ĭ  Ĭ¥ĬE Ĭ %Ĭ

'7,Ĭ& Ĭ#:i°Ĭ Ĭ:4@BÀ90Ĭ##ĬÐ+&¸'Ĭ        ;#BĬ @9Ĭ ĬB#m4@A49]Ĭ

       C(U+Ĭ   Ĭ)  Ĭ Ĭ5Ĭ&*5ĬĬ /RĬĬęĬ  dĬ HĬ  Ĭ

Ċ ĬĬ 5Ĭ © Ĭ*  Ĭ Ħ =ÜĬ5à0Ĭ)  Ĭ Ĭ¥Ĭ&*Ĭ Ĭ ûĬ ĬĬ'7Ĭ,Ĭ5Ĭ Ĭ

Ĭ $Ĭ Ĭ Ĭ- LĬ b0ĬEGĬĬ  ĬÝĬ  ĬEĬĬ üĬ ĬĬ'7Ĭ,Ĭ

       CkA:jĬ È dĬ Ĭ Ĭ  $Ĭ ĬĬ- 0Ĭ)  Ĭ*Ĭ Ĭ GĬtĬĬ' ďĬ

ĬEĬ&    Ĭ6:6Ĭ HĬĬ'7,"Ĭ##ĬP[&['LĬTĬA#66+Ĭ

       CkB;(Ĭ )  5Ĭ ĬĬ  Ĭ Ĭ DĬ  Ė @9Ĭċ Ĭ  Ĭ @9Ĭ  Ĭ

 $d Ĭ "Ĭ  ĬĬ *Ĭ©  Ĭ&5 ĬC:6Ĭ %ĬĬ'7,"Ĭ##Ĭl&¹'ĬTĬA#C6+Ĭ

, *  G0ĬĬJĬ Ĭ Ĭ)  Ĭ DĬ @9Ĭ Ĭ $* Ĭ"Ĭ*ĬĬ

$ 5 Ĭ %Ĭ&* Ĭ#:;Ĭ HĬĬ'7,"Ĭ##ĬL&L'+Ĭ ;#BB(Ĭ

       6(;4+Ĭ aĬGĬĬĬ2DĬJ8¾ Ĭí ĬÚ  Ĭ Ĭ Ĭ Ĭ  /ĬĬ

{Ĭą    ĬĬ$  Ĭ %Ĭ'7,Ĭ&5* Ĭ#:R¯9"Ĭ##ĬP+&('(ĬTĬA#AĬx@9Ĭ

       6(;#]Ĭ bw Ĭ  Ĭ EĬĬù  Ĭ %ĬĬ$ Õ£      ĬEĬ GĬ ĬáÓĬs ¨Ĭ

 Ĭ  GĬ*ĬĂVĬ{  5"ĬĬ Ĭw  Ĭ Ĭ ĬĬĬD ĬâS
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       Ğw ~ʥoʥKʥŴ ##ʥȣɉɣ~# ʥw@ʥ ʥ !ʥÚ cʥ ʥƏʥË@ĸ #@ʥÔ  .ʥ

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Y3%QE:ʥƞƞʥ1L1ʥ@ʥ1L¡qBė.ʥ  ʥ] ɩ@ ʥ !ʥʥʥ (#ʥ  ǎʥ

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ʥ = ʥ H~ʥo Hw ʥ ʥ KʥECʥ
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       fgʥ      %Hi ʥNʥ]  ʥC IʥA Ǐʥ|ʥ   ʥ ʥ¸Ɖ!ƯűTʥ`hPʥ@! ʥȺ ʥ Kʥ

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¥  ďʥC IʥAʥ ʥ8A"ʥÅ¸ ʥ T(ʥ@ʥ5 T 3ʥ " ʥʥkʥƏʥ]  ʥC Iʥ

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              ʥ:gy1ʥ "ʥ@   (ʥNʥ ʥ T ʥNʥÚT kʥTʥ #wʥ ( .ʥw~è ʥ  ʥŲ ʥ

                     w ɲ ʥK ʥ ʥ@( w #cʥ ʥ ~ ʥ@ž ʥ ʥEČ@ʥǪʥ

                     Kʥ± ʥgh"ʥ  @ʥ ʥW4ʥǗ ʥEKƈ !ʥE( ʥ(ʥC  ʥ`[ǧ ʥgh"àPʥ

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                     w@ʥ T ʥNʥĸčʥÚT .ʥTʥĹ#wʥ Ƃ.ʥ~è ʥ  ʥȯ ʥ ƈ ʥ

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                     ~è ʥ K ʥȱʥ   ʥ T~ʥŮɱʥ ~Ċʥũſ ʥ ʥE@ʥ

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 Ĭ $ ĬĬ/ĬĬ|ē XlĬ ÍĬ  ĬĬěĬ@Á^ ĬĩĬô Ĭ<.1Ĭ ĬĬ

Ď$ĬĬ' Ĭ) ĬĬ f Ĭ !Ĭ.?vĬ+_"Ĭ)Ĭ "ĬĬ¨ĬĬĬ

Ĭ"ĬĝĬĬ$ĬĬ % !Z Ĭ/ ħ!Ĭ2ĬĬ ĬĬ

  Ĭ  Ĭ%Ĭ  !ĬĬoĬ4C1ĬĬ  Ĭ}ÞĬ ĬhĈģ X"Ĭ Ĭ Ĭ
 Èąą< ą6?Vą Q¤R ąÕ&\ąt6"]'ą:ą                       =F FąW 6"MąY 6«d6#ą Ją
 g6JéąÍ&"R ą ¹b¾ą                                 ą Dą&Ną &ąOO'ą:2ą
 ß «nąH K ą6#ą6#~ą                                                  L'ą~ ¤#ą Uą
 Z ąą6@ąºą




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  ʥʥ0ʥʥ§ʥ  ʥ ʥ0,* ʥȈ ʥʥ * ʥ'ʥ+ ʥ±Üʥ, ʥ

  ɂļ^ ʥʥ8Rʥ+ʥʥ§ ʥXµ ʥ'ʥ8O*Sč ʥB; łÿOsʥ+OÏʥ  ʥ

*ʥ ʥ"Jʥ"ʥ, ʥ ʥ0ʥ-!ʥ*ȤīƊ^ªʥ»*ʥ»Kʥ ^ʥ  ʥʥ

ʥ ʥS ʥ ʥ*SʥʥSʥ»ʥS¨ ^ ʥ ʥ ! SʥŶ ʒ ¨*Ěʥ |ʥ *ʥ

,ʥʥB ¿4sʥ Ɲ ʥŷ*ʥ*µOʥ ʥ*ī ùm !ʥ cʥ ¨0O!ʥ**ČĘʥ;  ʥ  ʥ

*O ^ʥ8"ʥʥʥ!ʥ'ʥ§ʥ*ü mm!ʥm  ʥ ʘɵʜ!ʥ*^*ʥɳʥ8"ĕʥ ʥ*Tʥ ʥ

*O¾ʥ |ʥ*ʥʥʥ`¿4sʥ ! ʥŷ*ʥ*Oʥ8"ē ʥ<O ʥ'ʥʥ*ī  !ʥ

  ʥ *O!ʥČdʥ;  ʥ m ʥ ņʥ, ʥµnʥʥXµ ʥ'ʥ8OɊ<S ʥ

B; łÿďOsʥ+Oʥŧ ʥ  ʥʥ8"ʥ¹*ʥȾm ʥµƑŋʥ C§ʥʥB ¿4sʥJ! ʥ'*Oʥʥ

Įƙ !ʥÝcʥX Ĩ0,Ýʥ'ʥ8T*S ʥ`;^ ŁƑO©ʥ+OŧʥĮƇSʥ8"Ïʥ;  ʥ  ʥ

ĉ* ʥʥ*Ɏ ʥ!ʥ'ʥ ʥó0 *ʥ, ʥÝʥȿ!ʥ ʥX ,*,Ýʥ'ʥ8O0S ʥ

B; *Osʥ+O,ʥʥʥ S0ʥ;* ʥX ƕÿʥûʥʥ%ʥ'ʥ" ÜʥXSʥ'ʥ

|»¨* ʥ;^ * ʥ;* *ĕ ʥóȫʥʥ"ªʥ"  IÓʥ ŢɅ^*^Ȼ*ŉʥʥ cªʥ Ęʥ*ʥ*ʥ

 łʗSʥO!ʥʥ ʥʥ±ʥ2h"ʥ  ʥʥʥ»ʥ ,ʥʥʥ*Ɗ!ʥ ʥ

 RĴ^ʥʥʥXµ ɴʥ'ʥ8O*S ʥB; * Osʥ+Oʥ ʥ  ʥƆ Į^*^^ʥʥ

**J^ ʥ ʥ'ʥ ʥX^ *Ɛʥůʥ8O*Sč ʥÎ; ƕÿÝOsʥ+O,ƽʥ

                                                         

       W3¿:ʥ   " ʥ**Ɩªʥʉļ ªʥ Sʇ ʥ -S  ªʥù ʥ *ʥ**  ^ʥ

*^ɮn* ʥʥRʥ -SĽ ʥ-!ʥ ʥó* *ʥ  ʥRʥ Đ-SČ ʥʥ8"ʥ  Ƅ !dʥʥʥʠ»ʥ

 R 3ʥ 8 ^ ʥ n-S  ʥ  ʥRʥ ʥʥʥ¹ ʥS ʥù J*  Áʥ

ɑS0ÜĝĆÓO­ʥɒĊɤÓĆùŁÜĝȘĆOǒʥ ʥ;¿4ɥü*^S»ĝĆǿŋO­ʥ ŢĲʥ -āʥ ʥ

'ʥ mʥS×ʥ**  ʥ  ʥ ¨ ʥʥ%ʥSªʥ RŽʥůʥʥ O*- Ęʥ ʥʥ

 Iʥ¨SR<ʥ' ʥó* <fʥ " ʥ µ* !« -SƗ ʥS*m ʥ  ʥ-ʥʥÅĳȃʥ ʥ
 -fwYQ7Iw~nlV# @jJQnzFfNw,ldQu5(                     C A *g_njgcQfwIb<nlwRji $XQfM
 )lLaQw9dJQn# (D$                                  A]wY $QgQB_zQ
 'Ne]g^u IQ;nOQnlf(jfuQfw                                           AQIwQDHuY^fXzjg !
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$9 Đ!+î@;ĐĐ$Đ8û ĐÁ Đct Đ¢8Â^ĐĐ0HĐ/(  Đ*ä  Đ

x0/*^Đ VĐ %ĐĐ = ĐĐĐ  ĐĐ  ĐlĐĐ ĐĐ

  X-Đ  Đ ĐĐ ĆĐĐQ-)Đ/ðvhS-Đ  Đ Đ íĐĐ -ĐĐ

Đà  Đ78Đ 9Ð bĐ

       ĂbĐP êĐÇ ĐÆø ¯/$Đ0Úç Đ          ă¹Đ8 IĐÈ ĐąòĐ
       f§,¨Đ7  =Đ8  ĐĐ          fK,)Đ79 =Đ8s: ĐĐ
       *Đ ±C;Đ $I$Đ0 =ĀĐ0ÛSĐ           *Đ ²C Đ IĐ0s Đ0ÜĐ
       ###ĐOĐ,kĐzĐÉKĐ `DĐ             ###ĐOĐ,ĐĐ ĐÊ)Đ³DĐ
        ;Đ¾ $IĐDD< `MĐ                     zĐIĐDD<´MĐ

       aL#©Đ    Đ  ĐÙè  Đ =  Đ$ĐJ  Đp -ĐĐĐ0F Đ
 ĐĐ ĐĐĐ Đ č-Đ  w¤Đ×Đ*ĐĐ Đ  ĐĐ
!+l  Đ= »Đ

       dĐ : ãĐJ Đ Đ%Đ ĐĐ ĐĈĐ@Đ Đ Đ Đ P -Đ
        Đ Đ  Đ ĐHĐĐ (Đ :ĐĐ Đ Đ:Đ ĐĐ
       pP X-Đ Đ 9 Đ9ĐĐĐĐi9 Đ üFLĐ PĐĐ Đ
       pJ Đ%ĐĐ Đ ĐuĐĐ @ĐĐ yĐtĐĐuĐF  Đ
        Đ!+ ĐkĐĐ !+  ĐĐ @i  Đ Đ ;ĐĐĐĐ%Đ Đ
       ë-ĐĐ ØĐ J ĐJ = ĐĐ |Đ dĐ$ Đ$ ĐĐkĐ ĐåĐ
       P U Đ+ Đ : Đ!Ï Đ i U ;Đ  ĐĐ  Đ%ĐXĐĐ
            Đ!+ ĐIĐ  K Đ

       aVMªĐ   /XÓU Đ¿Đdh+9 ºĐ*Đ ĐĐ  Đ+         $Đ
-ĐĐĐ ĐĐ ĐĐÝ@vl)ĐÃ Đ $@ĐĐNCĐ/«c~*~Đ8ÑùĐ#;Đ,(tĐÀ Đ
*Đ ĐuĐĐ Đ%ĐĐÞU Đ $  ĐĐ Đ%ĐĐ
!+ UĐ úĐ Đ Đ:ĐĐ0 F WĐ ÌĐ (@9Đ%Đõ ĐĐ Đ Đ
 !SĐ ĐNCĐ/)K*)ĐĎĐ#L#CMx^}Đ Å!+   ĐéĐĐĐJ Đß Đ  Đ Đ
  ĐĐĐ Đ ĐĐĐĉ ĐĐĐ $Đ%ĐĐó ;ĐĐ!+ Đ ĐNCĐ/¬c­*WĐ
8$ Đ# Đ,$Đ)Đ %Đ*ĐFĐĐ ĐĐ  Đ%Đ ĐhS:  :ĐĐ Đ



 /f{[Q6I|wQtjW" ?mKt{GfN{,mdT23(                    C A +f\qjfdQf}>qj{Sf $XQfL
 )mL`Q{8dJQt" (D$                                     A\w[$QfQA\wQ  
 $Nd\h\u|qIQ:rNQrmf(mfuQf{                                         AQHQDIvZ\fXwjf !  
 >HXQ jW




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)H-)ʥ9ʥ üć= .ʥ8Abʥ_ʥIʥ9ʥȥ< ʥF- ʥʥʥ5- (ʥ9ʥɁ<ʥ
 eʥ ÀéʥEfřě;ƾʥ 22é&B©ʥ
       W3M3ʥ    °'ʥ;5  ʥıĄJ)ʥʥĄ_ʥ9(ʥȼ<ʥ-Ż9ʥį¹< ( ʥʥ,_ʥ5  ʥ'ʥ

ʥ ŵ  ʥʥĭťʥ ʥ( É< kʥ§ʥ) <_ʥ ʥ Źʥ8Abʥc(_:ʥ ð   _ʥ
)-(9ʥȩ ʥ üÉżĄʥʥŔAʥbʥʥ Ȟ5 ʥ9ʥĎ)ʥ?<Ī ʥ_ʥH-āʥ;)5  ʥʥ
 ( ʥ5 )´H ʥ <ʥ%´9Ż ʥ&éqB©ʥ'ʥ9ʥECbUʥ&&ʥvÒ%ÒEQʥ \&1qB©.ʥ,ʥʥ,)ʥ\ʥ
v3%E3ʥaʥ1441ʥ ʥ\&À1:ʥ
       Wj3ʥ    %-()) )ʥ-_ʥ;5  ʥ ʥ(ć569 ʥ,       ʥ Å¹ - ʥ)ʥ5,<Êʥ'ʥ9)ʥ
?< <yʥ ¯ ʥ)ʥ'ʥ ( _ʥȌ ʥ _ʥ-( ʥ-_ʥ;5  ʥ ʥ9()ʥ? <ʥ ʥʓʥ
H-) ʥ (Åĳ9( ).ʥ9ʥ?6  ʥ ʥ(9ʥ)H-) 9ʥ ı )ʥ) ʥ < ʥ
       WÑWƿʥ    8Abʥ_ʥ)ʥ _ʥ ŵ<Û ʥ)H-Ê ʥʥ<)5 )ʥʥ§()ʥ? 6ʥ ʥ)ʚ5<9ʥ'ʥ, ʥ
 <T.ʥ(FÛ .ʥ ʥ Û ʥ9 ʥ )9ʥ;5  fʥ
       WʥŎʥ   ģĲʥĄį¹É, ʥĉ< ʥʥ-ʥ)H- ʥ5 )ń ʥʥ9)ʥ? <ʥ(ʥ ʥ)H-ɓ9ʥʥ
ʥ55 T ʥ   9ʥ'ʥʥA5  Iʥ; H( ʥbʥ'ʥ1 qqj.ʥÀÀʥvę%ǀEěʥ &jéǉʥ

       W3ʥ    ;< ʥǳ ) T ŏʥ ;5  ʥ ʥ5 )Èʝʥ ʥ  .ʥ ʥ) ʥ(Ɣʥ(9ʥ
                                    
 ʙ  .ʥ 9  .ʥ ʥ/<ʥ56) ʥ ʥ ʥ(<ʥ- 'ʥʥƃ9( ʥ(9ʥ()ʥ? <.ʥ9ʥ
5 )ÈTʥ ʥ<,ż ʥ ʥ  ʥ, ʥ ń 9ʥ<  ʥ ʥ _ʥ,  ʥ9ʥ9ʥ? <ʥń ʥ8Abʥ,ʥ
 ʥʥ (9 ʥ 9Ûʥ5<)ƚ9ʥ9ʥ%( ʥ1¢:&3ʥ ɛ'8Abʥ,)I)ʥ;)5 ȕ 9ʥį¹ ʥ Ɲʥ5)ʥ'ʥ,_ʥ
                                         
<< ʥ<ʥ H Ɩʥ< 9 ʥ9ʥ9ʥ9T()ʥ 9 ʥ5<ƚ9ʥʥ9()ʥ?<  .ʥ;)5  ʥ .ʥ
ʥ ʥ)9ʥ9ʥ8Ab.ʥ5 F ʥŔAʥbʥʥ   ʥ ʥ5)ʥ'ʥʥ <Jʥ ʥ H9ʥ(ʥʄʥ
B&4©ʥ _)ʥ'8Abēʥ ú:ʥ
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                 Appendix &




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                   Restoration Work Plan

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           For the Westpoint Site on Wasilla Lake
                   1165 Westpoint Drive
                      Wasilla, Alaska


             Submitted by Robert Yundt Homes
                  On February 27, 2023




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                                     Restoration Work Plan
This restoration plan includes removal of unpermitted fill within Wasilla Lake and
reconstruction of bank utilizing bank revegetation techniques detailed in the Alaska
Department of Fish and Game’s (ADF&G) 2005 Streambank Revegetation and Protection: A
Guide For Alaska. Work will be completed per the attached plans and the following narrative:

   1. Permitting:
      On behalf of Robert Yundt Homes (RYH), The Boutet Company, Inc. (TBC) will submit this
      work plan along with additional supporting documents to obtain necessary permits to
      work within the Ordinary Highwater Mark (OHWM) and jurisdictional wetlands of
      Wasilla Lake and complete the restoration work. Anticipated permits include:

          a. United States Army Corps of Engineers (USACE) Section 404 permit.
          b. Alaska Department of Fish and Game (ADF&G) Fish Habitat Permit
          c. City of Wasilla Land Use Permit – This permit was required for building
             construction and has been obtained by the Owner. This restoration work plan
             and bank reconstruction will satisfy the conditions of this permit.

       Permitting Schedule:
              ADF&G Fish Habitat Submittal                                 March 1, 2023
              USACE Wetland Fill Permit Submittal                          March 1, 2023
              Response to Comments, as needed:                             April 1, 2023
              Receive Permits:                                             May 1, 2023

       Note: This project is within Wasilla City Limits there for Wasilla City Code takes
       precedence over Matanuska-Susitna Borough (MSB) Code. No MSB Permits are
       required.

   2. Fill Removal Plan
      Fill to be removed from the project includes riprap placed along the water’s edge and
      topsoil placed from the water’s edge to the edge of jurisdictional wetlands staked by
      USACE. The new bank will be constructed along the delineated edge of lake shown in
      Figure 1.

       Robert Yundt Homes will self-perform this work with oversite and guidance form TBC to
       remove approximately 50 cubic yards (CY) of rip rap from the edge of the lake and
       approximately 18 CY of fill from the wetland fringe area, between the staked flagging
       shoreward to Wasilla Lake (Figure 1).

       Prior to earth disturbance, the project manager will stake the limit of jurisdictional
       wetland and edge of bank per the USCOE delineation. The Contractor will install a
       perimeter best management practice (BMP) along the water’s edge, as discussed in
       Section 4 below, approximately 3’ into the lake from the bank or as needed to surround
       the work area.

                                                2

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   After installation of BMP’s, the contractor will begin removal of unpermitted fill. Fill to
   be removed includes placed Riprap and approximately 4’ width of bank along the
   water’s edge to reconstruct the bank. The Contractor intends to use tracked equipment
   (i.e. skid steer and excavator) to remove rip rap and fill material. All removed fill
   material will be hauled offsite to be disposed in an upland area. Usable fill material (i.e.
   topsoil, rip rap) may be hauled to a different site for reuse for landscaping. All unusable
   material will be hauled to a local gravel pit for disposal.

   A temporary stockpile location may be utilized during construction. If needed the
   stockpile location shall be located in an upland area surrounded by perimeter BMP’s and
   covered when not in use. The dock will be removed until completion of the restoration
   work. Replacement of the dock shall be completed as required by the City of Wasilla,
   EPA, USACE and ADF&G. The gravel path will also be removed by from the lake edge to
   the edge of jurisdictional wetlands.

3. Contractor/Project Manager Contacts and Equipment List

   Contractor:
          Robert Yundt
          Robert Yundt Homes – (907) 373-7941

   Project Management/Coordination:
          Tim Alley, PE
          Project Manager
          The Boutet Company, Inc.
          (907) 357-6760

          Trent Farris
          On-site Representative/Project Inspector
          The Boutet Company, Inc.
          (907) 354-8212

          Note: Project Manager may change staffing depending on availability. Any
          changes will be finalized before the preconstruction meeting and approved by
          EPA.

   Anticipated Equipment:
          Skid steer loader on rubber tracks
          Excavator (mini to midsize) on rubber tracks
          Dump Truck

4. Best Management Practices


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   BMP’s will be installed prior to earth disturbance per the attached details. A perimeter
   BMP will be installed approximately 3’ into the lake from the bank. The BMP will be
   either silt fence or a silt curtain depending on water depth. The depth is less than 12”
   silt fence installed with stake and anchored with pea gravel along the inside (work side)
   of the silt fence. The perimeter BMP will help prevent migration of sediment into the
   lake.

   After installation of the perimeter BMP, the contractor shall removal all trapped fish
   within the work area and release into the lake outside of the work limits. Contractor
   shall obtain a fish transport permit, as required, from ADF&G prior to preconstruction
   meeting.

   After completion of the bank reconstruction, all remaining disturbed area will be seeded
   with hydraulically applied wetland revegetation seed mix and mulch. No fertilizer will be
   used in the in the hydroseed mix.

   The perimeter BMP will remain installed and maintained until final stabilization of the
   bank reconstruction work has been achieved. Final stabilization is determined to be
   achieved with a minimum of 75% of the seeded area has grown to 1” height minimum.

5. Revegetation Plan
   As stated above, the attached bank restoration and revegetation plans were developed
   utilizing ADF&G’s Streambank Revegetation and Protection: A Guide For Alaska. This
   guide provides guidance for bank restoration work to mimic natural bank characteristics
   and promote fish habitat along the water’s edge.

   Bank reconstruction work will consist of a 18” coir log buried 12” along the delineated
   edge of bank. A layer of willow stakes, approximately 15 per linear foot (LF) will be
   placed along the bank in two courses. The first course will be installed atop the coir log
   followed by a 12” layer of soil/topsoil mix wrapped in coir fabric. Another course of
   willow stakes will be placed on the coir fabric followed by a 4” layer of topsoil and
   wetland seed stabilized with a rolled erosion control product (RECP) within 4’ from the
   top of the reconstructed bank. (See attached details). Areas beyond 4’ from the water’s
   edge will be stabilized with 4” minimum thickness of locally sourced, weed free topsoil
   and hydraulically applied wetland revegetation seed mix at rate of 2.5lb/1000 sf. The
   following seed mix will be used:

                                       Wetland Seed Mix
                 Name                   Proportion by          Purity         Germination
                                            Weight
    Red Fescue (Boreal)                      30%                90%               85%
    Festuca rubra ruba
    ‘Nortran’ Tufted Hairgrass                  40%             90%               85%
    Deschampsia Caespitosa
                                            4

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    Egan American Sloughgrass                   30%              90%               85%
    Beckmannia syzigachne ‘Egan’

   The reconstructed area will be watered daily until final stabilization is achieved.

   Willow cuttings shall be collected while willows are still dormant, prior to March 31,
   2023. Approximately, 1,315 cuttings will be needed for the project. Willow cuttings will
   be sourced from other RYH properties, as available or otherwise commercially sourced.
   Willow cuttings shall be kept frozen until planting. ADF&G will be consulted for proper
   harvesting and care until planting.

6. Notification
   At least seven (7) days prior to commencing activities at the Site under the EPA-
   approved Final Restoration Work Plan, Respondent shall notify the EPA representatives
   identified in Paragraph 6.1 of the Administrative Order On Consent.

   At least seven (7) days prior to completion of the work contractor or project manager
   shall notify EPA, ADF&G, USACE, and City of Wasilla to arrange a site visit with the
   contractor and project manager for a final acceptance inspection. The contractor shall
   remedy any deficiencies found during the site visit.

   Attn: Mark Jen, Inspector/Case Officer
   U.S. Environmental Protection Agency
   Region 10, Alaska Operations Office
   222 West Seventh Avenue, No. 19
   Anchorage, Alaska 99513

   Attn : Patrick Johnson, Attorney
   U.S. Environmental Protection Agency
   Region 10, Alaska Operations Office
   222 West Seventh Avenue, No. 19
   Anchorage, Alaska 99513

   Attn: Shane McCoy, South Section Chief
   US Army Corp of Engineers
   Alaska District
   2204 3rd Street
   JBER, AK 99506-0898

7. Completion Report
   Within 30-days of completing the restoration work, a Completion Report, which shall
   include photographs of the Site conditions before and after, will be submitted to EPA for
   review and approval. The Completion Report shall include photographs taken from
   fixed locations shown on the attached plan and include a written narrative.
                                            5

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8. Monitoring Plan
   The site shall be monitored for the following 3 years after completion. The site will be
   inspected for establishment and viability of willows to ensure 75% growth and
   survivorship of dormant willow stakings along the restored shoreline of Wasilla Lake is
   maintained during the monitoring period. Additional years of monitoring shall be
   required if the 75% performance standard has not been achieved after the three (3)
   years monitoring.

   Annual monitoring reports shall be submitted to EPA on or before the first, second, and
   third anniversaries of EPA’s approval of the Completion Report. Each annual monitoring
   report shall include photographs taken from fixed locations and shall include a written
   narrative that details the results of that year’s monitoring activities, and maintenance
   actions conducted and any adaptive management actions implemented, and deviations
   from the monitoring protocols. Each annual monitoring report shall also describe any
   potential problems observed and recommended changes to the monitoring protocols or
   performance standards.

9. Contingency Plan
   RYH will continue to monitor the performance of the reconstruction work for three
   years. Additional plantings/willow staking will be completed as needed to maintain a
   minimum 75% vegetation establishment.


10. Implementation Schedule

   Restoration Work Plan:
   Submit Plan to EPA for review:                                     January 15, 2023
   Receive Comments from EPA:                                         January 23, 2023
   Revise and Resubmit Plan:                                          February 2, 2023
   Harvest Willow Stakes by:                                          March 1, 2023
   Apply for all Permits (USACE, ADFG, City of Wasilla)               March 1, 2023
   Commencement of work Notification:                                 May 8, 2023
   Restoration Work Start Date:                                       May 15, 2023
   (Approximate)
   Completion of work Notification:                                   June 8, 2023
   Restoration Work End Date:                                         June 15, 2023
   Final Stabilization achieved:                                      July 15, 2023

   Completion Report:
   Submit Completion Report:                                          August 1, 2023


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Annual Monitoring Reports:
Submit 1st Year Report                                         August 15, 2024
Submit 2nd Year Report                                         August 15, 2025
Submit 3rd Year Report                                         August 15, 2026
       (if performance standards have not been achieved)
Submit Additional Report(s)                                    As needed

Note: ADF&G Fish Habitat permit in water work window will be followed to prevent
impact to spawning anadromous fish. Typically, in water work is allowed between May
and July 15.




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             Figure 1. Fill Areas to be Removed




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Figure 2a. Fill material to be removed from the Wetland Fringe Area
          and below the OHWM of Wasilla Lake (View NW)




    Note: Limit of Jurisdictional Wetlands staked by USACE with pink flagging shown above.




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Figure 2b. Fill material to be removed from the Wetland Fringe Area
          and below the OHWM of Wasilla Lake (View SE)




    Note: Limit of Jurisdictional Wetlands staked by USACE with pink flagging shown above.




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         Figure 3. Wasilla Lake Shoreline - Existing




                               11

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    Figure 4. Wasilla Lake Shoreline - Post Fill Removal




                               12

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Figure 5a. Revegetation and Landscape Plan Remaining lot (Outside
                     Jurisdictional Wetlands)




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         Figure 5b. Lake Edge Revegetation Detail
 (Shoreline bioengineered willow brush layers and coir log)




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                 Appendix '




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                    Restoration Work Plan

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   For the Lot 24A East Cherry Circle on Cottonwood Lake
                     In Wasilla, Alaska


             Submitted by Robert Yundt Homes
                  On February 27, 2023




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                                 Restoration Work Plan
1. Fill Removal Plan
   Robert Yundt Homes (RYH) will self-perform this work with oversight and guidance from
   The Boutet Company, Inc. (TBC) to remove the fill material that encroaches within the
   wetland fringe area of Cottonwood Lake, install temporary silt fencing along remaining
   wetland edge to protect the lake and wetland areas from fill material, reshape
   embankment per Figure 1, and place topsoil, seed and temporary and permanent
   erosion control materials to stabilize slopes.

   A plan prepared by TBC shows existing and proposed contours, as well as the wetlands
   demarcation as defined by the U.S. Army Corps of Engineers. The area of wetlands that
   previous fill (beyond the septic absorption system) had impacted is 335 square feet. The
   attached asbuilt survey shows the building pad, with no foundation. Since that asbuilt, a
   foundation and septic system have been installed, with the foundation being placed 5
   feet to the north of the wetland limits. Prior to commencement of work TBC will stake
   the wetland boundary and perimeter of the fill removal area. The unpermitted fill
   (approximately 52 cubic yards) within the 406 square foot wetland area will be removed
   and reshaped to provide the area for wetland revegetation. Proposed slopes range from
   3 horizontal to 1 vertical, to 1.5 horizontal to 1 vertical. Slopes will receive Rolled
   Erosion Control Products.

   All removed fill material will be hauled offsite to be disposed in an upland area. Usable
   fill material (i.e. topsoil, clean gravel) may be used onsite in an upland area or hauled to
   a different site for reuse. All unusable material will be hauled to a local gravel pit for
   disposal. Material may be placed onsite either temporarily or permanently in the area
   shown on the plans. All disturbed soils shall be stabilized after placement.

2. Permitting
   Robert Yundt Homes will submit this work plan along with additional supporting
   documents to obtain necessary permits to work within the fringe wetlands of
   Cottonwood Lake and complete the restoration work. Permitting for the restoration
   work is anticipated to be minimal. A USCOE Section 404 Permit is anticipated for the fill
   removal within the wetlands and to permit the fill to remain for the absorption system.
   This property is not within any incorporated City. The Matanuska Susitna Borough does
   not regulate earth disturbing work of this nature.

   Permitting Schedule:
          USACE Wetland Fill Permit Submittal                           March 15, 2023
          Response to Comments, as needed:                              April 15, 2023
          Receive Permits:                                              May 15, 2023

3. Descriptions of Work
   Start Date: As soon as seasonal weather allows, and permits have been secured.
   (Spring/summer of 2023)

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   End Date: Work is anticipated to require less than a week.

   Contractor:
          Robert Yundt Homes – (907) 373-7941

   Project Management/Coordination:
          Tim Alley, PE
          Project Manager
          The Boutet Company, Inc.
          (907) 357-6760

           Trent Farris
           On-site Representative/Project Inspector
           The Boutet Company, Inc.
           (907) 354-8212

           Note: Project Manager may change staffing depending on availability. Any
           changes will be finalized before the preconstruction meeting and approved by
           EPA.

   Anticipated Equipment:
          Skid steer loader on rubber tracks
          Excavator (mini to midsize) on rubber tracks
          Dump Truck

4. Best Management Practices
   Silt fencing will be used to protect existing/remaining fringe wetlands during the
   restoration work. After completion of the restoration work, delineation of the wetland
   will be installed to prevent further encroachment.

   All work that can be done by hand will be to protect sensitive areas.
   Rolled Erosion Control Products shall be installed per the figures.

5. Revegetation Plan
   A Revegetation Plan has been prepared by The Boutet Company. Disturbed areas will
   be topsoiled and seeded. Slopes shall have RECP installed to support stabilization while
   vegetation is established.

   Seed mixes have been specified below per Municipality of Anchorage Standard
   Specifications:




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                              Wetland Seed Mix (2.5lb/1000sf)
                 Name                 Proportion by        Purity          Germination
                                         Weight
    Red Fescue (Boreal)                    30%              90%                85%
    Festuca rubra ruba
    ‘Nortran’ Tufted Hairgrass                  40%           90%              85%
    Deschampsia Caespitosa
    Egan American Sloughgrass                   30%           90%              85%
    Beckmannia syzigachne ‘Egan’


                            Revegetation Seed Mix (2.5lb/1000sf)
                 Name                  Proportion by        Purity         Germination
                                          Weight
    ‘Nortran’ Tufted Hairgrass             50%               90%               85%
    Deschampsia caespitosa
    Red Fesuce (Boreal)                    40%               90%               85%
    Festuca rubra ruba
    Annual Rye                             10%               90%               85%
    Lolium multiflorum


6. Notification
   At least seven (7) days prior to commencing activities at the
   Site under the EPA-approved Final Restoration Work Plan, Respondent shall notify the
   EPA representatives identified in Paragraph 6.1 of the Administrative Order On Consent.

   At least seven (7) days prior to completion of the work contractor or project manager
   shall notify EPA, MSB and USACE to arrange a site visit with the contractor and project
   manager for a final acceptance inspection. The contractor shall remedy any deficiencies
   found during the site visit.

   Attn: Mark Jen, Inspector/Case Officer
   U.S. Environmental Protection Agency
   Region 10, Alaska Operations Office
   222 West Seventh Avenue, No. 19
   Anchorage, Alaska 99513

   Attn : Patrick Johnson, Attorney
   U.S. Environmental Protection Agency
   Region 10, Alaska Operations Office
   222 West Seventh Avenue, No. 19
   Anchorage, Alaska 99513

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   Attn: Shane McCoy, South Section Chief
   US Army Corp of Engineers
   Alaska District
   2204 3rd Street
   JBER, AK 99506-0898

7. Completion Report
   Within 30-days of completing the restoration work, a Completion Report, which shall
   include photographs of the Site conditions before and after, will be submitted to EPA for
   review and approval. The Completion Report shall include photographs taken from
   fixed locations shown on the attached plan and include a written narrative.

   By October 15, 2023, TBC will provide a professionally licensed survey to delineate the
   applicable portion of Lot 24A to remain undisturbed in perpetuity, which shall include
   that area within the wetland line waterward toward the shoreline of Cottonwood Lake.
   The survey shall include all existing improvements including the house foundation and
   mounded septic system infrastructure and the proposed locations on Lot 24a for (1) an
   elevated pile supported walkway to the Cottonwood Lake shoreline, (2) pile supported
   floating dock, (3) airplane hangar, and other planned development features, if this is still
   requested.

8. Monitoring Plan
   The site shall be monitored for the following 3 years after completion. The site will be
   inspected for establishment and viability seeding to ensure 75% growth of planted
   materials is maintained during the monitoring period.

   Annual monitoring reports shall be submitted to EPA on or before the first, second, and
   third anniversaries of EPA’s approval of the Completion Report. Each annual monitoring
   report shall include photographs taken from fixed locations shown on the attached plan
   and shall include a written narrative that details the results of that year’s monitoring
   activities, and maintenance actions conducted and any adaptive management actions
   implemented, and deviations from the monitoring protocols. Each annual monitoring
   report shall also describe any potential problems observed and recommended changes
   to the monitoring protocols or performance standards.

9. Contingency Plan
   RYH will continue to monitor the performance of the reconstruction work for three
   years. Reapplication of seed will be completed as needed to maintain a minimum 75%
   vegetation establishment.

10. Implementation Schedule

   Restoration Work Plan

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Submit Plan to EPA for review:                         January 15, 2023
Receive Comments from EPA:                             January 23, 2023
Revise and Resubmit Plan:                              February 2, 2023
Apply for all Permits (USACE)                          March 15, 2023
Commencement of work Notification:                     May 8, 2023
Restoration Work Start Date:                           May 15, 2023 (Approximate)
Completion of work Notification                        June 8, 2023
Restoration Work End Date:                             June 15, 2023
Final Stabilization achieved:                          July 15, 2023

Completion Report
Submit Completion Report:                              August 15, 2023

Declaration of Environmental (Restrictive) Covenant (Consent Order/Paragraph 5.9;
CWA-10-2022-0006)*
Submit Professionally Licensed Survey of Lot 24A                 October 15, 2023
EPA Reviews/Approves Survey of Lot 24A                           October 25, 2023
Submit Final/Executed Declaration of Environmental Covenant      November 5, 2023
EPA Reviews/Approves Declaration of Environmental Covenant       November 15, 2023
Record Certified Order & Declaration - Palmer Recording District November 25, 2023
(ADNR Recorder’s Office in Anchorage, AK.)

Annual Monitoring Reports:
Submit 1st Year Report                                        July 1, 2024
Submit 2nd Year Report                                        July 1, 2025
Submit 3rd Year Report                                        July 1, 2026
(if performance standards have not been achieved)
Submit Additional Report(s)                                   As needed




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          Figure 1. USACOE Wetlands Delineation




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            Figure 2. Cottonwood Lot 24A Asbuilt




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             Figure 3. Wetland Fill Removal Plan




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             Figure 4. Restoration Cross Section




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